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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1193V
                                        (not to be published)


    KRISTOPHER GRYMONPRE,
                                                                Chief Special Master Corcoran
                          Petitioner,
    v.                                                          Filed: October 19, 2021


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Mark Kim Hellie, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On August 14, 2019, Kristopher Grymonpre filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration as a result of an influenza vaccine administered on November 16, 2018.
(Petition at 1). On March 29, 2021, a decision was issued awarding compensation to
Petitioner based on the Respondent’s proffer. (ECF No. 30).


1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all “§” ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated September
27, 2021 (ECF No. 35), requesting an award of $28,662.39 (representing $27,484.00 in
fees and $1,178.39 in costs). In accordance with General Order No. 9, Petitioner filed a
signed statement indicating that he incurred out-of-pocket expenses in the amount of
$400.00. (Id. at 2). Respondent reacted to the motion on October 12, 2021, indicating that
he is satisfied that the statutory requirements for an award of attorney’s fees and costs
are met in this case, but deferring resolution of the amount to be awarded to my discretion.
(ECF No. 36). On October 13, 2021, Petitioner filed a reply requesting the Court award
attorney’s fees and costs in full. (ECF No. 37).

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, Petitioner is awarded the total amount of $29,062.39 3 as follows:

            •    A lump sum of $28,662.39, representing reimbursement for attorneys’
                 fees and costs, in the form of a check payable jointly to Petitioner and
                 Petitioner’s counsel; and

            •    A lump sum of $$400.00, representing reimbursement for Petitioner’s
                 costs, in the form of a check payable to Petitioner.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




3
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as f ees f or legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs., 924
F.2d 1029 (Fed. Cir.1991).
4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                    2
